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Carrington, Coleman, Sloman &




                                12                              UNITED STATES DISTRICT COURT
                                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                13                                 SAN FRANCISCO DIVISION
      Blumenthal, L.L.P.




                                14   AUSTEN SHWIYHAT, on behalf of himself and                Case No. 23-CV-00283-JSC
                                     the State of California as a private attorney general,   Hon. Jacqueline Scott Corley
                                15
                                                                    Plaintiff,
                                16                                                            DEFENDANT’S RESPONSE TO SHOW
                                            vs.                                               CAUSE ORDER REGARDING SUBJECT
                                17                                                            MATTER JURISDICTION
                                     MARTIN MARIETTA MATERIALS, INC., a
                                18   North Carolina corporation, and DOES 1 through           [Filed concurrently with the Declarations of
                                     100, inclusive,                                          Miriam Grisard, John A. Gillan, and Mark
                                19                                                            Epstein, and [Proposed] Order]
                                                                    Defendants.
                                20                                                            Complaint Filed: December 6, 2022
                                21
                                22
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                                                               DEFENDANT’S REPSONSE TO SHOW CAUSE ORDER
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                                1                                           I.       INTRODUCTION
                                2           Pursuant to the Court’s Show Cause Order, ECF No. 22 issued April 13, 2023, Defendant
                                3
                                     Martin Marietta Materials, Inc. (“Martin Marietta”) submits this Response with evidence
                                4
                                     establishing subject matter jurisdiction over Plaintiff’s claims.
                                5
                                            This Court has original subject matter jurisdiction over this action pursuant to 28 U.S.C. §§
                                6
                                     1331 and 1446(b). Specifically, Plaintiff’s representative action has been brought on behalf of
                                7
                                8    numerous allegedly aggrieved employees who were subject to collective bargaining agreements

                                9    (“CBAs”). For these employees, the allegedly violated rights exist solely as a result of the CBAs.
                                10   Section 301 of the Labor Management Relations Act preempts state law interpretation and
                                11
                                     enforcement of CBAs and, thus, confers subject matter jurisdiction over Plaintiff’s lawsuit.
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                                12
                                                                      II.        ISSUE TO BE DECIDED
                                13
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                                            Whether this Court has subject matter jurisdiction over Plaintiff’s claims.
                                14
                                                         III.    FACTUAL & PROCEDURAL BACKGROUND
                                15
                                                                                      The Parties
                                16
                                            1.     In March 2021, Plaintiff was hired to work for Calaveras Materials, Inc., a
                                17
                                     subsidiary of Lehigh Hanson, Inc. (“Lehigh”). Declaration of Miriam Grisard (“Grisard Decl.”),
                                18
                                     attached hereto as Exhibit A, ¶ 4.
                                19
                                            2.     On October 1, 2021, Martin Marietta acquired Lehigh’s West Region, including
                                20
                                     ownership of Calaveras Materials, Inc. and Lehigh’s other operations in Arizona and California.
                                21
                                     Declaration of John Gillan (“Gillan Decl.”), attached hereto as Exhibit B, ¶ 4.
                                22
                                            3.     As part of the acquisition, Martin Marietta and Lehigh agreed that, from October 1,
                                23
                                     2021 until April 30, 2022, employees of Lehigh’s California subsidiaries would remain Lehigh
                                24
                                     employees and continue to receive pay and benefits from Lehigh while performing services for the
                                25
                                     subsidiaries (which as of October 1 were wholly owned by Martin Marietta). Id. at ¶ 6.
                                26
                                27
                                                                                   1
                                28                              DEFENDANT’S REPSONSE TO SHOW CAUSE ORDER
                                                                                 CASE NO. 23-CV-00283-JSC
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                                1           4.     On May 1, 2022, the transitional arrangement with Lehigh ended. Id. at ¶ 8. Martin
                                2    Marietta became the employer for the employees of Lehigh’s former California subsidiaries,
                                3    including Plaintiff. Id. Plaintiff was a Martin Marietta employee until his termination in July 2022.
                                4    Grisard Decl., ¶¶ 4–5.
                                5           5.     When Martin Marietta became the employer, it became bound by various pre-
                                6    existing CBAs covering employees of the California subsidiaries. Declaration of Mark Epstein
                                7    (“Epstein Decl.”), attached hereto as Exhibit C.
                                8                                           Plaintiff’s Complaint
                                9           6.     On December 6, 2022, Plaintiff filed a Complaint in the Superior Court of
                                10   California, Alameda County, Case No. 22cv023220 on behalf of himself and other purportedly
                                11   aggrieved employees pursuant to the California Private Attorneys General Act (“PAGA”). The
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                                12   Complaint asserts Martin Marietta violated California Labor Code § 2698, et. seq., based on
                                13   various alleged Labor Code violations, including: (a) failing to maintain accurate time records; (b)
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                                14   failing to pay all hours worked, including overtime hours worked; (c) failing to provide meal and
                                15   rest periods and failure to make premium payments for missed meal and rest breaks; (d) failing to
                                16   provide accurate wage statements; and (e) failing to timely pay all wages owed upon separation of
                                17   employment. ECF No. 1-1 (Exhibit A (the “Complaint”)).
                                18          7.     Plaintiff seeks to represent himself “and all other current and former aggrieved
                                19   employees” throughout California. Id. at ¶ 22. Plaintiff also specifically references “Aggrieved
                                20   Employees [who] performed work for Defendants in the County of Alameda.” Id. at ¶ 5. Hundreds
                                21   of the alleged aggrieved employees are subject to CBAs. Epstein Decl. ¶ 3.
                                22                                   Collective Bargaining Agreements
                                23          8.     All of the CBAs include provisions for (1) wages, (2) hours of work, (3) working
                                24   conditions, (4) premium wage rates for all overtime hours worked, and (5) regular hourly rates of
                                25   not less than 30 percent more than the state minimum wage. Epstein Decl. ¶¶ 5-7, 9(a)–(k), 11(a)–
                                26   (b) & Exs. C-1 to C-28; see also Chart, p. 6, below.
                                27
                                28                                                 2
                                                              DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                1           9.     A subset of the CBAs cover commercial drivers1 and expressly provide for (1)
                                2    wages; (2) hours of work; (3) working conditions of employees; (4) premium wage rates for all
                                3    overtime hours worked; (5) a regular rate of pay not less than 30 percent more than the state
                                4    minimum wage rate; (6) meal periods for the employees; and (7) final and binding arbitration of
                                5    disputes concerning application of its meal periods. Epstein Decl. ¶¶ 9(c), 9(d), 9(f), 9(h), 10;
                                6    Exh.C-11 to C-13, C-15, C-16, C-19, C-20; see also Chart, p. 16, below.
                                7                                                  Removal
                                8           10.    Martin Marietta removed this case to the Northern District of California on January
                                9    19, 2023, based on federal question jurisdiction. ECF No. 1. The Notice of Removal explained
                                10   that a federal question existed based on preemption under Section 301 of the Labor Management
                                11   Relations Act (“LMRA”) (“Section 301”). Id., pp. 2–6.
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                                12          11.    On April 13, 2023, the Court issued an Order to Defendant to Show Cause
                                13   Regarding Subject Matter Jurisdiction. ECF No. 22.
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                                14                  IV.    STATEMENT OF SUBJECT MATTER JURISDICTION
                                15
                                            This Court has original jurisdiction under 28 U.S.C. § 1331 because the lawsuit presents a
                                16
                                     federal question. Specifically, Section 301 of the LMRA preempts numerous claims presented in
                                17
                                     the Complaint, thereby creating federal subject matter jurisdiction.
                                18
                                            Under Section 301, “‘[s]uits for violation of contracts between an employer and a labor
                                19
                                     organization representing employees in an industry affecting commerce . . . may be brought in a
                                20
                                     district court for the United States having jurisdiction of the parties’ without regard to the amount
                                21
                                     in controversy or without regard to the citizenship of the parties.” Firestone v. S. Cal. Gas., Co.,
                                22
                                     219 F.3d 1063, 1065 (9th Cir. 2000) (quoting Section 301). Because Section 301 authorizes
                                23
                                     federal courts to develop a federal common law of CBA interpretation, Section 301 provides a
                                24
                                25   1
                                      The drivers identified in Paragraphs 9(c), 9(d), 9(f), and 9(h) of Mark Epstein’s Declaration
                                     qualify as commercial drivers because they operate vehicles used for the transportation of property
                                26   and/or maintained primarily for the transportation of property. Cal. Lab. Code § 512(g)(1); Cal.
                                27   Vehicle Code § 260; Epstein Decl. ¶ 10.

                                28                                                 3
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                                1    basis for federal question jurisdiction. Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399, 406
                                2    (1988). To ensure uniform interpretation, federal common law preempts the use of state law in
                                3    collective bargaining agreement interpretation and enforcement. Id. at 413; Local 174, Teamsters,
                                4    Chauffeurs, Warehousemen & Helpers of Am. v. Lucas Flour Co., 369 U.S. 95, 103–04 (1962);
                                5    Curtis v. Irwin Indus., Inc., 913 F.3d 1146, 1152 (9th Cir. 2019) (“[F]ederal preemption under
                                6    Section 301 is an essential component of federal labor policy.”) (internal citations and quotations
                                7    omitted).2
                                8           A two-step inquiry determines if Section 301 preempts a claim. First, if the “asserted cause
                                9    of action involves a right [that] exists solely as a result of the CBA,” then “the claim is preempted
                                10   and [the] analysis ends there.” Curtis, 913 F.3d at 1152–53. (alteration in original) (internal
                                11   citations and quotations omitted). Second, if the “state law right is substantially dependent on
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                                12   analysis” of the CBA, then the claim is preempted. Id. at 1153. Section 301, thus, regularly
                                13   preempts PAGA claims brought on behalf of union employees. Rodriguez v. USF Reddaway Inc.,
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                                14   No. 2:22-cv-00210-TLN-DB, 2022 WL 18012518, at *4 (E.D. Cal. Dec. 30, 2022); Braswell v.
                                15   AHMC San Gabriel Valley Med. Ctr. LP, No. CVV 21-09959-MWF (AGR), 2022 WL 707206, at
                                16   *4 (C.D. Cal. Mar. 8, 2022); Jimenez v. Young’s Mkt. Co., LLC, No. 21-cv-02410-EMC, 2021 WL
                                17   5999082, at *9–*11 (N.D. Cal. Dec. 20, 2021); see also Firestone, 219 F.3d at 1066–67 (claim
                                18   preempted by Section 301 where the CBA had to be interpreted to resolve the plaintiff’s wage
                                19   claims).
                                20          Even if the plaintiff is not a union member (as is the case here), Section 301 preemption
                                21   applies if the plaintiff seeks to represent other allegedly aggrieved employees who are subject to a
                                22   qualifying CBA. See Braswell, 2022 WL 707206, at *4 (plaintiff’s PAGA claims preempted
                                23
                                24   2
                                      At all relevant times alleged in the Complaint, Defendant has been, and is, a company engaged in
                                     commerce and in an industry affecting commerce within the meaning of Sections 2(2), 2(6), and
                                25   2(7) of the NLRA and Section 301(a) of the LMRA, 29 U.S.C. §§ 152(2), (6), (7) and 185(a). See
                                     Gillan Decl. ¶ 2. Additionally, the unions subject to the various CBAs are, and have been, labor
                                26   organizations within the meaning of Section 2(5) of the NLRA and 301(a) of the LMRA, 29
                                27   U.S.C. §§ 152(2), (6), (7) and 185(a).

                                28                                                 4
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                                1    where named plaintiff not subject to CBA but has filed suit on behalf of employees covered by a
                                2    CBA); Rodriguez, 2022 WL 18012518, at *4 (“Even if a plaintiff is not a party to the CBA, courts
                                3    must still interpret the CBA to determine whether a violation occurred as to the aggrieved
                                4    employees.”) (alteration in original) (internal citations and quotations omitted); but see Stoddart v.
                                5    Heavy Metal Iron, Inc., No. 2:22-cv-01532-DAD-DB, 2023 WL 2524313 (E.D. Cal. Mar. 15,
                                6    2023).
                                7          A.       Plaintiff’s PAGA Claims are Brought on Behalf of Union Employees.
                                8             Plaintiff asserts claims on behalf of Martin Marietta’s hourly employees who worked in
                                9    Alameda County and across “all of Defendant’s business locations in California.” Complaint, ¶¶
                                10   5, 18. As explained herein and in the Declaration of Mark Epstein, numerous Martin Marietta
                                11   hourly employees located in California are subject to CBAs. Epstein Decl. ¶¶ 3, 4 & Exh.C-1 to
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                                12   Exh.C-28.
                                13         B.       Plaintiff’s Overtime-Related Claims are Preempted.
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                                14            Plaintiff claims that Martin Marietta’s California employees were not properly paid for
                                15   overtime hours. However, Labor Code § 514 provides that the California overtime rules (Labor
                                16   Code § 510) “do not apply to an employee covered by a valid collective bargaining agreement if
                                17   the agreement expressly provides for the wages, hours of work, and working conditions of
                                18   employees, and if the agreement provides premium wage rates for all overtime hours worked and
                                19   a regular hourly rate of pay for those employees of not less than 30 percent more than the state
                                20   minimum wage.”
                                21            Here, the relevant CBAs meet the Labor Code § 514 requirements. Specifically, each CBA
                                22   attached as Exhibits C-1 through C-28 to the Epstein Declaration provides for (1) wages, (2) hours
                                23   of work, (3) working conditions, (4) premium wage rates for all overtime hours worked, and (5)
                                24   regular hourly rates of not less than 30 percent more than the state minimum wage. In 2021, the
                                25   minimum wage was $14 an hour for employers with 26 employees or more. Cal. Lab. Code §
                                26
                                27
                                28                                                 5
                                                              DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                1    1182.12(b)(1)(E). In 2022, the minimum wage was $15 an hour. Id. at § 1182.12(b)(1)(F). Thus,
                                2    30 percent more than this minimum wage is $18.20 an hour in 2021, and $19.50 an hour in 2022.
                                3
                                              Paragraph /           California Labor Code                  CBA Citation
                                4               Exhibit /                Requirement
                                                Covered
                                5             Location and
                                               Employees3
                                6                                Wages                            Section 01.01.00
                                                                 Hours of work                    Section 06.00.00
                                7                                Working conditions of            Section 05.00.00 (Seniority);
                                                                 employees                        Section 06.00.00 (Working
                                8                                                                 Rules); Section 08.00.00
                                                 ¶ 5 / C-1                                        (Holidays); Section 08.09.00
                                9                                                                 (Paid Time Off); see generally
                                            CBA – Sunol, CA                                       Exh.C-1 (“This Agreement
                                10            (operating                                          shall be effective insofar as the
                                              engineers)                                          schedule of wages, fringe
                                11                                                                benefits, and working
                                                                                                  conditions herein[.]”)
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                                12                               Premium wage rates for all       Section 07.00.00
                                                                 overtime hours worked
                                13                               Regular hourly rate of pay       Section 01.01.00
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                                                                 not less than 30 percent state
                                14                               minimum wage
                                                                 Wages                            Section 01.01.00
                                15                               Hours of work                    Section 06.00.00
                                16                               Working conditions of            Section 05.00.00 (Seniority);
                                                                 employees                        Section 06.00.00 (Working
                                17                                                                Rules); Section 08.00.00
                                                 ¶ 5 / C-2                                        (Holidays); Section 09.09.00
                                18                                                                (Paid Time Off); see generally
                                            CBA – Sunol, CA                                       Exh.C-2 (“This Agreement
                                               (laborers)                                         shall be effective insofar as the
                                19                                                                schedule of wages, fringe
                                20                                                                benefits, and working
                                                                                                  conditions herein[.]”)
                                21                               Premium wage rates for all       Section 07.00.00
                                                                 overtime hours worked
                                22                               Regular hourly rate of pay       Section 01.01.00
                                                                 not less than 30 percent state
                                23                               minimum wage
                                                                 Wages                            Section 01.01.00
                                24                               Hours of work                    Section 06.00.00

                                25
                                26   3
                                      The Paragraph numbers and the exhibits are to the Declaration of Mark Epstein, attached here as
                                27   Exhibit C. The location(s) and job positions are set forth or referenced in the identified paragraph.

                                28                                                 6
                                                              DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                                          Working conditions of            Section 05.00.00 (Seniority);
                                1                         employees                        Section 06.00.00 (Working
                                           ¶ 6 / C-3                                       Rules); Section 08.00.00
                                2                                                          (Holidays & Paid Time Off);
                                        CBA – Oakland                                      see generally Exh.C-3 (“This
                                3          and San                                         Agreement shall be effective
                                          Francisco                                        insofar as the schedule of
                                4          (various                                        wages, fringe benefits, and
                                         employees)                                        working conditions herein[.]”)
                                5                         Premium wage rates for all       Section 07.00.00
                                                          overtime hours worked
                                6                         Regular hourly rate of pay       Section 01.01.00
                                                          not less than 30 percent state
                                7                         minimum wage
                                                          Wages                            Section 01.03.00
                                8                         Hours of work                    Section 06.01.00, 06.01.01
                                                          Working conditions of            Section 04.05.00 (Vacation,
                                9                         employees                        Holiday, and Sick Pay);
                                           ¶ 7 / C-4                                       Section 06.00.00 (Working
                                10                                                         Rules); Section 08.00.00
                                        CBA – Berkeley,                                    (Supplementary Working
                                11           CA                                            Conditions); see generally
                                          (operating                                       Exh.C-4
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                                12        engineers)      Premium wage rates for all       Section 06.25.00; Section;
                                                          overtime hours worked            Section 13.05.10; Section
                                13
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                                                                                           14.02.07
                                14                        Regular hourly rate of pay       Section 01.03.00
                                                          not less than 30 percent state
                                15                        minimum wage
                                                          Wages                            Section 18; Supplement Nos.
                                16                                                         1-5
                                                          Hours of work                    Section 20(A)(1), (2)
                                17         ¶ 7 / C-5      Working conditions of            Section 20A (Hours and
                                                          employees                        Working Conditions); Section
                                18      CBA - Berkeley,                                    20A(4) (Weekends and
                                         CA (laborers)                                     Holidays); Section 23
                                19                                                         (Holidays); Section 13C
                                                                                           (Safety); see generally Exh.C-
                                20                                                         5
                                                          Premium wage rates for all       Section 20A
                                21                        overtime hours worked
                                                          Regular hourly rate of pay       Supplement Nos. 1-5
                                22                        not less than 30 percent state
                                                          minimum wage
                                23                        Wages                            Section 18; Supplement Nos.
                                                                                           1, 2, 3, 4, 5
                                24         ¶ 7 / C-6      Hours of work                    Section 20A(1), (2), (3)

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                                                            Working conditions of            Section 20A (Hours and
                                1       CBA – Berkeley,     employees                        Working Conditions); Section
                                               CA                                            20A(4) (Weekends and
                                2        (laborers, prior                                    Holidays); Section 23
                                             CBA)                                            (Holidays); Section 13C
                                3                                                            (Safety); see generally Exh.C-
                                                                                             6
                                4                           Premium wage rates for all       Section 20A(5)
                                                            overtime hours worked
                                5                           Regular hourly rate of pay       Section 18; Supplement Nos.
                                                            not less than 30 percent state   1-5
                                6                           minimum wage
                                                            Wages                            Section 03.00.00; Exh.C-8
                                7                                                            (Wage Supplement)
                                                            Hours of work                    Section 04.00.00
                                8                           Working conditions of            Section 04.00.00 (Work
                                          ¶ 9(a) / C-7      employees                        Schedule); Section 06.00.00
                                9                                                            (Holidays); Section 07.00.00
                                        CBA – Clayton,                                       (Paid Time Off); Section
                                10       CA (operating                                       11.00.00 (Seniority); see
                                          engineers)                                         generally Exh.C-7 (“This
                                11                                                           Agreement shall be effective
                                                                                             insofar as the schedule of
Carrington, Coleman, Sloman &




                                12                                                           wages, fringe benefits, and
                                                                                             working conditions herein[.]”)
                                13                          Premium wage rates for all       Section 05.00.00
      Blumenthal, L.L.P.




                                                            overtime hours worked
                                14                          Regular hourly rate of pay       Section 03.00.00; Exh.C-8
                                15                          not less than 30 percent state   (Wage Supplement)
                                                            minimum wage
                                16                          Wages                            Section 01.01.00
                                                            Hours of work                    Section 06.00.00
                                17        ¶ 9(a) / C-9      Working conditions of            Section 05.00.00 (Seniority);
                                                            employees                        Section 06.00.00 (Working
                                18      CBA – Clayton,                                       Rules); Section 08.00.00
                                         CA (laborers)                                       (Holidays); Section 09.00.00
                                19                                                           (Paid Time Off); see generally
                                                                                             Exh.C-9 (“This Agreement
                                20                                                           shall be effective insofar as the
                                                                                             schedule of wages, fringe
                                21                                                           benefits, and working
                                                                                             conditions herein[.]”)
                                22                          Premium wage rates for all       Section 07.00.00
                                                            overtime hours worked
                                23                          Regular hourly rate of pay       Section 01.01.00
                                                            not less than 30 percent state
                                24                          minimum wage
                                                            Wages                            Appendix “A”
                                25                          Hours of work                    Article II(A)

                                26
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                                28                                            8
                                                         DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                                            Working conditions of            Article II (Working
                                1         ¶ 9(b) / C-10     employees                        Conditions); Article III
                                                                                             (Holidays); see generally
                                2             CBA –                                          Exh.C-10 (“[I]t is the desire of
                                         Asphalt/Cement                                      the parties to establish uniform
                                3         Plants in Los                                      rates of pays, hours of
                                        Angeles, Orange,                                     employment and working
                                4           Riverside,                                       conditions for members of the
                                        Imperial, and San                                    Union employed by
                                5        Diego Counties                                      Employer.”)
                                             (various       Premium wage rates for all       Article II(B)
                                6          employees)       overtime hours worked
                                                            Regular hourly rate of pay       Appendix “A”
                                7                           not less than 30 percent state
                                                            minimum wage
                                8                           Wages                            Article 11
                                                            Hours of work                    Article 5.1
                                9                           Working conditions of            Article 4 (Seniority); Article 5
                                          ¶ 9(c) / C-11     employees                        (Working Rules); Article 6
                                10                                                           (Paid Holidays); Article 7
                                             CBA –                                           (Vacations); see generally
                                11      Escondido, CA                                        Exh.C-11 (“[I]t is the desire of
                                        San Diego, CA                                        the Parties hereto to establish
Carrington, Coleman, Sloman &




                                12     National City, CA                                     rates of pays, hours of
                                        Oceanside, CA                                        employment and working
                                13       Lakeside, CA                                        conditions for members of the
      Blumenthal, L.L.P.




                                          (drivers and                                       Union employed by the
                                14        mechanics)                                         Company”)
                                                            Premium wage rates for all       Article 5.2
                                15                          overtime hours worked
                                16                          Regular hourly rate of pay       Article 11
                                                            not less than 30 percent state
                                17                          minimum wage
                                                            Wages                            Article 11
                                18        ¶ 9(c) / C-12     Hours of work                    Article 5
                                                            Working conditions of            Article 4 (Seniority); Article 5
                                19           CBA –          employees                        (Working Rules); Article 6
                                        Escondido, CA                                        (Holidays); Article 7
                                20      San Diego, CA                                        (Vacations); Article 8 (Safety);
                                       National City, CA                                     see generally Exh.C-12 (“[I]t
                                21      Oceanside, CA                                        is the desire of the Parties
                                         Lakeside, CA                                        hereto to establish rates of pay,
                                22        (drivers and                                       hours of employment and
                                       mechanics, prior                                      working conditions for
                                23           CBA)                                            members of the Union.”)
                                                            Premium wage rates for all       Article 5.2
                                24                          overtime hours worked
                                                            Regular hourly rate of pay       Article 11
                                25                          not less than 30 percent state
                                                            minimum wage
                                26                          Wages                            Article 4; Appendix A
                                                            Hours of work                    Article 3
                                27
                                28                                             9
                                                          DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                         ¶ 9(d) / C-13      Working conditions of            Article 10 (Seniority); Article
                                1                           employees                        3 (Hours and Work); Article 7
                                          Goleta, CA                                         (Paid Holidays); Article 8
                                2         (drivers and                                       (Paid Time Off) Article 15
                                           repairmen)                                        (Safety and Working
                                3                                                            Conditions); see generally
                                                                                             Exh.C-13
                                4                           Premium wage rates for all       Article 5
                                                            overtime hours worked
                                5                           Regular hourly rate of pay       Appendix A
                                                            not less than 30 percent state
                                6                           minimum wage
                                                            Wages                            Section 07.00.00
                                7                           Hours of work                    Section 05.01.00; Section
                                                                                             05.01.01; Section 05.02.00; see
                                8         ¶ 9(e) / C-14                                      generally Section 05.00.00
                                                         Working conditions of               Section 04.00.00 (Seniority);
                                9      Calaveras County employees                            Section 05.00.00 (Working
                                       Stanislaus County                                     rules); Section 09.00.00
                                10      Merced County                                        (Holidays); Section 10.00.00
                                            (various                                         (Paid Time Off Policy); Article
                                11        employees)                                         15.00.00 (Safety); see
                                                                                             generally Exh.C-14 (“This
Carrington, Coleman, Sloman &




                                12                                                           Agreement shall be effective
                                                                                             insofar as the schedule of
                                13                                                           wages, fringe benefits, and
      Blumenthal, L.L.P.




                                                                                             working conditions herein”)
                                14                          Premium wage rates for all       Section 06.00.00
                                                            overtime hours worked
                                15                          Regular hourly rate of pay       Section 07.00.00
                                16                          not less than 30 percent state
                                                            minimum wage
                                17                          Wages                            Section 22
                                                            Hours of work                    Section 11, 11.01
                                18        ¶ 9(f) / C-15     Working conditions of            Section 10 (Vacations);
                                                            employees                        Section 11 (Work Week);
                                19      Madera County                                        Section 13 (Holidays); Section
                                        Fresno County                                        27 (Seniority); see generally
                                20          (transit                                         Exh.C-15
                                         employees)         Premium wage rates for all       Section 12
                                21                          overtime hours worked
                                                            Regular hourly rate of pay       Section 22
                                22                          not less than 30 percent state
                                                            minimum wage
                                23                          Wages                            Section 22
                                         ¶ 9(f) / C-16      Hours of work                    Section 11, 11.01
                                24              /           Working conditions of            Section 10 (Vacations);
                                        Madera County       employees                        Section 11 (Work Week);
                                25      Fresno County                                        Section 13 (Holidays); Section
                                                                                             27 (Seniority); see generally
                                26                                                           Exh.C-16

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                                            (transit       Premium wage rates for all       Section 12
                                1       employees, prior   overtime hours worked
                                             CBA)          Regular hourly rate of pay       Section 22
                                2                          not less than 30 percent state
                                                           minimum wage
                                3                          Wages                            Article V, Appendix “A”
                                                           Hours of work                    Article IV
                                4        ¶ 9(g) / C-17     Working conditions of            Article 1, Section 1 (“The
                                                           employees                        Employer recognizes the
                                5       Irwindale, Los                                      Union as the exclusive
                                        Angeles County                                      representative for the purpose
                                6          (various                                         of collective bargaining in
                                          employees)                                        respect to rates of pay, wages,
                                7                                                           hours of employment, or other
                                                                                            conditions of employment . .
                                8                                                           .”); Article IV (Hours and
                                                                                            Work); Article VIII (Paid
                                9                                                           Holiday); Article IX (Paid
                                                                                            Time Off Policy); Article XI
                                10                                                          (Seniority); Article XVII
                                                                                            (Safety and Working
                                11                                                          Conditions)
                                                           Premium wage rates for all       Article VI
Carrington, Coleman, Sloman &




                                12                         overtime hours worked
                                                           Regular hourly rate of pay       Appendix “A”
                                13                         not less than 30 percent state
      Blumenthal, L.L.P.




                                                           minimum wage
                                14                         Wages                            Article IV; Appendix A
                                15                         Hours of work                    Article III
                                                           Working conditions of            Article I, Section 1 (“The
                                16                         employees                        Employer recognizes the
                                         ¶ 9(g) / C-18                                      Union as the exclusive
                                17                                                          representative for the purpose
                                         Irwindale, Los                                     of collective bargaining in
                                18      Angeles County                                      respect to rates of pay, wages,
                                            (various                                        hours of employment, or other
                                19      employees, prior                                    conditions of employment . .
                                             CBA)                                           .”); Article III (Hours and
                                20                                                          Work); Article VII (Paid
                                                                                            Holiday); Article VIII (Paid
                                21                                                          Time Off Policy); Article X
                                                                                            (Seniority); Article XVI
                                22                                                          (Safety and Working
                                                                                            Conditions)
                                23                         Premium wage rates for all       Article V
                                                           overtime hours worked
                                24                         Regular hourly rate of pay       Appendix A
                                                           not less than 30 percent state
                                25                         minimum wage
                                                           Wages                            Section 9
                                26       ¶ 9(h) / C-19     Hours of work                    Section 7

                                27
                                28                                           11
                                                         DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                                            Working conditions of            Section 4 (Holidays); Section 7
                                1         Lathrop, CA       employees                        (Hours); Section 11 (Paid
                                           Tracy, CA                                         Time Off): Section 14
                                2         (transit mix                                       (Seniority); see generally
                                          drivers and                                        Exh.C-19
                                3          batchmen)        Premium wage rates for all       Section 7(B)
                                                            overtime hours worked
                                4                           Regular hourly rate of pay       Section 9; Exh.C-20, Section 9
                                                            not less than 30 percent state
                                5                           minimum wage
                                                            Wages                            Section 9
                                6        ¶ 9(h) / C-20      Hours of work                    Section 7
                                                            Working conditions of            Section 4 (Holidays); Section 7
                                7        Lathrop, CA        employees                        (Hours); Section 11 (Paid
                                           Tracy, CA                                         Time Off); Section 14
                                8         (transit mix                                       (Seniority); see generally
                                          drivers and                                        Exh.C-20
                                9       batchmen, prior     Premium wage rates for all       Section 7(B)
                                             CBA)           overtime hours worked
                                10                          Regular hourly rate of pay       Section 9
                                11                          not less than 30 percent state
                                                            minimum wage
Carrington, Coleman, Sloman &




                                12                          Wages                            Article 31
                                                            Hours of work                    Article 5
                                13        ¶ 9(i) / C-21     Working conditions of            Article 2 (Recognition) (“The
      Blumenthal, L.L.P.




                                                            employees                        Employer recognizes the
                                14       Tehachapi, CA                                       Union as the sole collective
                                            (various                                         bargaining representative with
                                15        employees)                                         respect to wages, hours and
                                                                                             working conditions for all
                                16                                                           employees as defined
                                                                                             herein.”); Article 5 (Hours);
                                17                                                           Article 9 (Seniority); Article
                                                                                             11 (Vacations); Article 12
                                18                                                           (Paid Holidays); Article 18
                                                                                             (Safety Clause)
                                19                          Premium wage rates for all       Article 6
                                                            overtime hours worked
                                20                          Regular hourly rate of pay       Article 31
                                                            not less than 30 percent state
                                21                          minimum wage
                                                            Wages                            Schedule “A”
                                22                          Hours of work                    Section 28.01, 28.03
                                          ¶ 9(j) / C-22     Working conditions of            Section 4 (Terms of
                                23                          employees                        Employment); Section 18
                                         Stockton, CA                                        (Safety and Sanitation);
                                24         (various                                          Section 21 (Holidays); Section
                                          employes)                                          22 (Paid Time Off); Section 28
                                25                                                           (Workweek, Workday, and
                                                                                             Overtime); see generally
                                26                                                           Exhibit C-22

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                                                            Premium wage rates for all       Section 28.06
                                1                           overtime hours worked
                                                            Regular hourly rate of pay       Schedule “A”
                                2                           not less than 30 percent state
                                                            minimum wage
                                3                           Wages                            Schedule “A”
                                          ¶ 9(j) / C-23     Hours of work                    Section 29.01, 29.03
                                4                           Working conditions of            Section 4 (Terms of
                                         Stockton, CA       employees                        Employment); Section 10
                                5          (various                                          (Seniority); Section 18 (Safety
                                        employes, prior                                      and Sanitation); Section 21
                                6           CBA)                                             (Holidays); Section 22 (Paid
                                                                                             Time Off); Section Safety and
                                7                                                            Sanitation); see generally
                                                                                             Exh.C-23
                                8                           Premium wage rates for all       Section 29.06
                                                            overtime hours worked
                                9                           Regular hourly rate of pay       Schedule “A”
                                                            not less than 30 percent state
                                10                          minimum wage
                                11                          Wages                            Article 24
                                                            Hours of work                    Article 5.10, 5.20
                                          ¶ 9(k) / C-24     Working conditions of            Article 1 (Intent) (“It is
Carrington, Coleman, Sloman &




                                12
                                                            employees                        therefore the intent to the
                                13       Redding, CA                                         parties and the purpose of this
                                           (various                                          Agreement to . . . establish
      Blumenthal, L.L.P.




                                14        employees)                                         wages, hours and working
                                                                                             conditions.”); Article 5
                                15                                                           (Hours); Article 9 (Seniority);
                                                                                             Article 11 (Paid Time Off);
                                16                                                           Article 12 (Paid Holidays);
                                                                                             Article 17 (Safety Clause); see
                                17                                                           generally Exh.C-23
                                                            Premium wage rates for all       Article 6
                                18                          overtime hours worked
                                                            Regular hourly rate of pay       Article 24
                                19                          not less than 30 percent state
                                                            minimum wage
                                20                          Wages                            Appendix A-E
                                         ¶ 11(a) / C-25     Hours of work                    Article XIX(A)-(E)
                                21                          Working conditions of            Purpose (“The Union and the
                                        Riverside County    employees                        Contractors, by this
                                22       Orange County                                       Agreement, intend to establish
                                           (operating                                        uniform rates of pay, hours of
                                23         engineers)                                        employment and working
                                                                                             conditions.”); Article XIX
                                24                                                           (Working Rules); see generally
                                                                                             Exh.C-25
                                25                          Premium wage rates for all       Article XIX(W)(3)
                                                            overtime hours worked
                                26
                                27
                                28                                            13
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                                                            Regular hourly rate of pay       Appendix A-E
                                1                           not less than 30 percent state
                                                            minimum wage
                                2                           Wages                            Article XIX(K)
                                                            Hours of work                    Article XVIII(A)-(E)
                                3        ¶ 11(a) / C-26     Working conditions of            Purpose (“The Union and the
                                                            employees                        Contractors, by this
                                4       Riverside County                                     Agreement, intend to establish
                                         Orange County                                       uniform rates of pay, hours of
                                5          (laborers)                                        employment and working
                                                                                             conditions.”); Holidays (XVI);
                                6                                                            Article XVII(A) (Safety);
                                                                                             XVIII (Working Rules for
                                7                                                            Laborers); see generally
                                                                                             Exh.C-26
                                8
                                                                                             Purpose; Article XVI; Article
                                9                           Premium wage rates for all       Article XVIII(A); Article
                                                            overtime hours worked            XIX(A)
                                10                          Regular hourly rate of pay       Article XIX(K)
                                                            not less than 30 percent state
                                11                          minimum wage
                                                            Wages                            Appendix “A”
Carrington, Coleman, Sloman &




                                12                          Hours of work                    Article XIX(A)-(E)
                                         ¶ 11(b) / C-27     Working conditions of            Purpose (“The Union and the
                                13
      Blumenthal, L.L.P.




                                                            employees                        Contractors, by this Agreement
                                           San Diego                                         intend to establish uniform
                                14         (operating                                        rates of pay, hours of
                                           engineers)                                        employment and working
                                15                                                           conditions for the employees
                                16                                                           covered by this Agreement.”);
                                                                                             Article XIX (Working Rules);
                                17                                                           XVII(A) (Safety)
                                                            Premium wage rates for all       XIX(U)
                                18                          overtime hours worked
                                                            Regular hourly rate of pay       Appendix “A”
                                19                          not less than 30 percent state
                                                            minimum wage
                                20                          Wages                            Section 25
                                                            Hours of work                    Section 20(A)-(E)
                                21       ¶ 11(b) / C-28     Working conditions of            Purpose (“The Union and the
                                                            employees                        Contractors, by this
                                22         San Diego                                         Agreement, intend to establish
                                           (laborers)                                        uniform rates of pay, hours of
                                23                                                           employment and working
                                                                                             conditions for the employees
                                24                                                           covered by this Agreement.”);
                                                                                             Section 11 (Safety); Section 20
                                25                                                           (Work Periods and Work
                                                                                             Rules); Section 21 (Holidays)
                                26                          Premium wage rates for all       Section 25(F)
                                                            overtime hours worked
                                27
                                28                                            14
                                                          DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                                                Regular hourly rate of pay       Section 25
                                1                               not less than 30 percent state
                                                                minimum wage
                                2
                                            Accordingly, Plaintiff’s overtime-related claims connected to allegedly aggrieved
                                3
                                     employees under the above CBAs are preempted because those employees do not have a right to
                                4
                                     overtime compensation other than pursuant to the applicable CBAs, creating federal subject matter
                                5
                                     jurisdiction.4 Curtis, 913 F.3d at 1155 (employee’s overtime claim was controlled by a qualifying
                                6
                                     CBA and therefore preempted by Section 301 of the LMRA); Rodriguez, 2022 WL 18012518 at
                                7
                                     *3 (PAGA-overtime related claims preempted where Section 514 met); Braswell, 2022 WL
                                8
                                     707206 at *4 (same); Rodriguez v. Gonsalves & Santucci, Inc., No. 21-CV-07874-LB, 2022 WL
                                9
                                     161892, at *4 (N.D. Cal. Jan. 18, 2022); Jimenez, 2021 WL 5999082, at *9–*11 (plaintiff’s
                                10
                                     PAGA overtime-related claims under California Labor Code Sections 510, 1194, and 1198
                                11
                                     preempted by Section 301 where CBA satisfied the requirements of California Labor Code
Carrington, Coleman, Sloman &




                                12
                                     Section 514); Loaiza v. Kinkisharyo Int., LLC, No. LA CV19-07662 JAK (KSx), 2020 WL
                                13
      Blumenthal, L.L.P.




                                     5913282, at *4 (C.D. Cal. Oct. 6, 2020) (Section 301 preemption applies where Section 514 met);
                                14
                                     Franco v. E-3 Systems, No. 199 cv-0453-HSG, 2019 WL 6358947, at *3–*4 (N.D. Cal. Nov. 8,
                                15
                                     2019) (same); Van Bebber v. Dignity Health, No. 119-CV-00264-DAD-EPG, 2019 WL 4127204,
                                16
                                     at *8–*9 (E.D. Cal. Aug. 30, 2019) (same).
                                17
                                           C.     Plaintiff’s Meal-Related Claims are Preempted.
                                18
                                            Plaintiff claims that Martin Marietta’s California hourly employees did not receive state-
                                19
                                     mandated meal periods and that Martin Marietta failed to make premium payments for missed
                                20
                                     meal periods. However, under Labor Code Section 512(e) and (f), California’s meal periods do
                                21
                                     not apply to commercial drivers covered by a valid collective bargaining agreement that
                                22
                                     “expressly provides for the wages, hours of work, and working conditions of employees, and
                                23
                                     expressly provides for meal periods for those employees, final and binding arbitration of disputes
                                24
                                25
                                     4
                                      Even if this right were based entirely on independent state law—which it is not—Plaintiff’s
                                26   PAGA claim will require interpretation of the applicable CBAs and this Court will need to review
                                27   and interpret the provisions in the CBAs.

                                28                                               15
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                                1    concerning application of its meal period provisions, premium wage rates for all overtime hours
                                2    worked, and a regular hourly rate of pay of not less than 30 percent more than the state minimum
                                3    wage rate.”5
                                4           Martin Marietta employed commercial drivers who were subject to the following CBAs,
                                5    each of which expressly provides for (1) wages; (2) hours of work; (3) working conditions of
                                6    employees; (4) premium wage rates for all overtime hours worked; (5) a regular rate of pay not
                                7    less than 30 percent more than the state minimum wage rate; (6) meal periods for the employees;
                                8    and (7) final and binding arbitration of disputes concerning application of its meal periods.
                                9              Paragraph /           California Labor Code                CBA Provision
                                             Exhibit / Covered            Requirement
                                10             Location and
                                                Employees6
                                11                                 Requirements 1-5               See above
                                                ¶ 9(c) / C-11      Meal periods                   Art. 5.4.2
                                12
Carrington, Coleman, Sloman &




                                                                   Final and binding              Art. 5.4.2
                                                   CBA –           arbitration of disputes
                                13            Escondido, CA        concerning meal periods
      Blumenthal, L.L.P.




                                              San Diego, CA
                                14           National City, CA
                                              Oceanside, CA
                                15             Lakeside, CA
                                                (drivers and
                                16              mechanics)
                                17                                 Requirements 1-5               See above
                                                ¶ 9(c) / C-12      Meal periods                   Art. 5.4.2
                                18                                 Final and binding              Art. 5. 4.2
                                                   CBA –           arbitration of disputes
                                19            Escondido, CA        concerning meal periods
                                              San Diego, CA
                                20           National City, CA
                                              Oceanside, CA
                                21             Lakeside, CA
                                                (drivers and
                                22           mechanics, prior
                                                   CBA)
                                23
                                24
                                     5
                                       Martin Marietta’s Notice of Removal included rest periods within the scope of Section 512. On
                                25   further review, Section 512(e) and (f) pertain only to meal periods.
                                     6
                                       As explained above, paragraph numbers and the exhibits are to the Declaration of Mark Epstein,
                                26   attached here as Exhibit C. The location(s) and job positions are set forth or referenced in the
                                27   identified paragraph.

                                28                                                  16
                                                                DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                                                   Requirements 1-5            See above
                                1              ¶ 9(d) / C-13       Meal periods                Article 3, Sections 3 and 4
                                                                   Final and binding           Article 3, Section 3; Article 11
                                2               Goleta, CA         arbitration of disputes
                                                (drivers and       concerning meal periods
                                3                repairmen)
                                4                                  Requirements 1-5            See above
                                               ¶ 9(f) / C-15       Meal periods                Section 11.01(B)
                                5                                  Final and binding           Section 11.01(B); Section 20
                                              Madera County        arbitration of disputes
                                6              Fresno County       concerning meal periods
                                            (transit employees)
                                7
                                                                   Requirements 1-5            See above
                                8                                  Meal periods                Section 11.01(B)
                                                ¶ 9(f) / C-16      Final and binding           Section 11.01(B); Section 20
                                9                      /           arbitration of disputes
                                              Madera County        concerning meal periods
                                10             Fresno County
                                            (transit employees,
                                11              prior CBA)
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                                12                                 Requirements 1-5            See above
                                               ¶ 9(h) / C-19       Meal periods                Section 21
                                13                                 Final and binding           Section 21; Section 10
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                                                Lathrop, CA        arbitration of disputes
                                14               Tracy, CA         concerning meal periods
                                            (transit mix drivers
                                15             and batchmen)
                                16                                 Requirements 1-5            See above
                                               ¶ 9(h) / C-20       Meal periods                Section 21
                                17                                 Final and binding           Section 21; Section 10
                                                Lathrop, CA        arbitration of disputes
                                18               Tracy, CA         concerning meal periods
                                            (transit mix drivers
                                19             and batchmen,
                                                prior CBA)
                                20
                                21          Accordingly, Plaintiff’s meal period-related claims connected to allegedly aggrieved
                                22   employees under the above CBAs involve rights conferred upon the covered employees by
                                23   various CBAs.7 See Rodriguez v. Gonsalves, 2022 WL 161892 at *4 (where CBA satisfies Section
                                24
                                     7
                                       Even if the right to meal periods was based entirely on independent state law—which it is not—
                                25   Plaintiff’s PAGA claim will require interpretation of the applicable CBAs, creating preemption.
                                     Chatman v. WeDriveU, Inc., No. 3:22-CV-04849-WHO, 2022 WL 15654244, at *2, *10 (N.D.
                                26   Cal. Oct. 28, 2022) (PAGA claims preempted where entitlement to relief under Section 512
                                27   requires interpretation of CBA provisions).

                                28                                                 17
                                                               DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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                                1    512(e), employee rights to meal periods is conveyed solely by CBA, and preemption is proper).
                                2    Section 301 preemption, therefore, creates federal subject matter jurisdiction. Id. at *2; Rodriguez,
                                3    2022 WL 18012518 at *4; Jimenez, 2021 WL 5999082 at *11; Taylor v. NBC West, LLC, No. CV
                                4    19-7663-DMG (PLAx), 2020 WL 8268197, at *2 (C.D. Cal. Jan. 2, 2020).8
                                5           In addition, the regulations of the Federal Motor Carrier Safety Administration preempt
                                6    application of California’s meal and rest periods for certain commercial drivers including ready
                                7    mix drivers.9 Int’l Bhd. of Teamsters, Loc. 2785 v. Fed. Motor Carrier Safety Admin., 986 F.3d
                                8    841 (9th Cir. 2021); Razo v. CEMEX Constr. Materials Pac., LLC¸ No. 20-11175-MWF (KSx),
                                9    2021 WL 325638, at *5 (C.D. Cal. Feb. 1, 2021) (FMCSA completely preempts ready mix
                                10   drivers’ meal and rest period claims, supporting removal). The Northern District of California
                                11   recognizes FMCSA preemption of meal and rest periods but has held it is not complete
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                                12   preemption supporting removal. Lindsey v. WC Logistics, Inc., 586 F.Supp.3d 983, 989–91 (N.D.
                                13   Cal. 2022).
      Blumenthal, L.L.P.




                                14                                          V.    CONCLUSION
                                15
                                           Martin Marietta therefore requests that this Court (i) issue an order that the Court has subject
                                16
                                     matter jurisdiction over this case; and (ii) grant Martin Marietta any additional relief that the Court
                                17
                                     determines is appropriate.
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                                23   8
                                       Plaintiff’s claims are also preempted under Section 301 because they arise under the Labor Code
                                24   provisions that are subject to applicable CBAs’ grievance and arbitration procedures. Specifically,
                                     as shown in Exhibits C-1 through C-28, the relevant CBAs call for final and binding arbitrations
                                25   for any disputes regarding the contents or rights therein. Epstein Decl., ¶ 11. Some CBAs specify
                                     that PAGA claims are subject to the mandatory grievance and arbitration procedures. See, e.g.,
                                26   Exh.C-4; Exh.C-25; Exh.C-26; Exh.C-27.
                                     9
                                27     This would also be a basis for supplemental jurisdiction.

                                28                                                18
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                                     DATED: May 15, 2023                  CARRINGTON, COLEMAN,
                                2                                         SLOMAN & BLUMENTHAL, L.L.P
                                3
                                4                                         By: /s/ Mike Birrer
                                                                                          MIKE BIRRER
                                5                                                   Attorneys for Defendant
                                                                          MARTIN MARIETTA MATERIALS, INC.
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                                                           DEFENDANT’S RESPONSE TO SHOW CAUSE ORDER
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